Case 6:18-cv-02184-CEM-LRH Document 262-1 Filed 11/17/20 Page 1 of 14 PagelD 10633

EXHIBIT “A”
Case 6:18-cv-02184-CEM-LRH Document 262-1 Filed 11/17/20 Page 2 of 14 PagelD 10634

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
ALLSTATE INSURANCE COMPANY,
an Illinois corporation; ALLSTATE FIRE
AND CASUALTY INSURANCE COMPANY,
an Illinois corporation; ALLSTATE INDEMNITY
COMPANY, an Illinois corporation; and
ALLSTATE PROPERTY AND CASUALTY
INSURANCE COMPANY, an Illinois
corporation,
Plaintiffs,
v. Case No. 6:18-cv-2184-ORL-41-LRH

AUTO GLASS AMERICA, LLC,
a Florida limited liability company, and
CHARLES ISALY, a citizen of Arizona,
Defendants.
i

CONFIDENTIALITY AGREEMENT REGARDING DOCUMENTS
AND MATERIALS PRODUCED IN THIS LITIGATION

The parties hereto, through their undersigned attomeys, hereby stipulate and agree to
the following with regard to confidential information and documents in the above-captioned
litigation (the “Litigation”):

1, Scope of this Agreement. This Confidentiality Agreement Regarding
Documents and Materials Produced in this Litigation (“Agreement”) governs the use and
protection of all documents and information produced or to be produced by any party or third
party in connection with this Litigation, including but not limited to any answers to
interrogatories; responses to requests for admissions; responses to requests for production;

responses to subpoenas; oral, audio and/or visual recordings; electronically stored information;
Case 6:18-cv-02184-CEM-LRH Document 262-1 Filed 11/17/20 Page 3 of 14 PagelD 10635

depositions, including exhibits; other testimony, including that given at any hearings or trial in
the Litigation; and any other materials disclosed through discovery in this case (cumulatively,
the “Discovery Material”). The Discovery Material will be used for no other purpose than this
Litigation.

2. Definitions,

a The term “Confidential Information” means any type or classification of
information that the producing party or third party considers to be and treats as confidential,
including but not limited to trade secrets or other non-public, proprietary, and confidential
technical, commercial, financial, personal, or business information, or other valuable
information covered by a legitimate privacy right or interest. As examples but in no way meant
as a limitation, Confidential Information may include business plans; marketing plans and
strategies; financial statements and other financial information; product, insured, customer, or
market research; private or confidential information of customers, insureds, employees, or
agents; customer and insured lists; contracts; business relationships; sales volumes, pricing,
profits, costs, or margins; and any other material that the designating party treats as confidential
or is confidential under applicable law.

b. The term “Confidential Documents” means all documents or other
materials that contain or reflect Confidential Information and are designated as confidential in
accordance with this Agreement.

c. The term “Highly Confidential Information” means Confidential
Information that the designating party believes in good faith contains trade secrets, research and
development information, terms of contracts that are commercially sensitive and proprietary,

\
Case 6:18-cv-02184-CEM-LRH Document 262-1 Filed 11/17/20 Page 4 of 14 PagelD 10636

and other highly confidential, sensitive, and proprietary information that would cause injury to
the designating party if such information were known by the receiving party.

d. The term “Highly Confidential Documents” means all documents or
other materials that contain or reflect Highly Confidential Information and are designated as
highly confidential in accordance with this Agreement.

€. The term “designating party” means the party that designates certain
documents, materials, or information as confidential or highly confidential in accordance with
this Agreement.

f. The term “receiving party” means the party that receives certain
documents, materials, or information that have been designated as confidential or highly
confidential in accordance with this Agreement.

3, Designation of Confidential Documents, Any designating party shall have the
right to designate as “Confidential” any information, document, or thing that it is producing in
this Litigation and that it believes in good faith constitutes, contains, embodies, discloses, or
reflects Confidential Information. Documents may be designated as confidential by
conspicuously stamping “CONFIDENTIAL — FOR USE ONLY IN THE MATTER OF
ALLSTATE v. AUTO GLASS AMERICA, CASE NO. 6:18-cv-2184-ORL-41-LRH” on each
page of each Confidential Document in a manner which will not obscure the text or affect the
legibility of the document. In order to designate a computer disc or other electronically
recorded materials as confidential, where the above method is not feasible, the parties will mark
the disc and case containing the materials with the foregoing stamp. Deposition or other sworn
testimony, including trial testimony, containing Confidential Information shall be designated
as confidential either at the time of the testimony or by serving such designations within thirty

3
Case 6:18-cv-02184-CEM-LRH Document 262-1 Filed 11/17/20 Page 5 of 14 PagelD 10637

(30) days of the receipt of the written transcript. Until the expiration of the thirty-day period,
the transcript shall be deemed a Confidential Document containing Confidential Information.

4, Limitation on Use or Disclosure of Confidential Documents and Confidential
Information. All Confidential Documents and Confidential Information shall be used only for

 

the purpose of the Litigation and shall not be disclosed or disseminated to anyone by any person
or entity except as herein provided. The disclosure of Confidential Documents and the
Confidential Information contained therein may be made only to:

a. the parties to this Litigation;

b. external counsel of record in this Litigation and in-house counsel for the parties to
this Litigation;

c. employees of such counsel assisting with this Litigation;
d. employees of any party assisting with this Litigation;

e. any expert, investigator, or consultant engaged by a party to assist with this
Litigation;

f. the Court, court personnel, and court reporters; and

g. vendors who perform litigation services including but not limited to computer
database preparation, document ceding, image scanning, photocopying, mock
trial, jury profiling, translation, or exhibit preparation in connection with this
Litigation, but only for so long as necessary to perform those services.

Persons who receive access to Confidential Documents or Confidential Information
pursuant to this agreement may not refer to or allude to the existence of any Confidential Document
or Confidential Information disclosed pursuant to this agreement to any other person who has not
received such access pursuant to this agreement. The disclosure of Confidential Documents or
Confidential Information may be made to other persons only upon order of the Court in this

Litigation or upon written approval of the designating party.
Case 6:18-cv-02184-CEM-LRH Document 262-1 Filed 11/17/20 Page 6 of 14 PagelD 10638

5. Designation of Confidential Documents as “Highly Confidential.” Any
designating party shall have the right to designate as “Highly Confidential” any information,

document, or thing that it is producing in this Litigation and that it believes in good faith
constitutes, contains, embodies, discloses, or reflects Highly Confidential Information.
Documents may be designated as Highly Confidential by conspicuously stamping “HIGHLY
CONFIDENTIAL ~ ATTORNEYS’ EYES ONLY -- FOR USE ONLY IN THE MATTER OF
ALLSTATE v. AUTO GLASS AMERICA, CASE NO. 6:18-cv-2184-ORL-41-LRH” on each
page of each Highly Confidential Document in a manner which will not obscure the text or
affect the legibility of the document. In order to designate a computer disc or other
electronically recorded materials as Highly Confidential, where the above method is not
feasible, the parties will mark the disc and any case containing the materials with the foregoing
stamp. Deposition or other sworn testimony, including trial testimony, containing Highly
Confidential Information shall be designated as Highly Confidential either at the time of the
testimony or by serving such designations within thirty (30) days of the receipt of the written
transcript. Testimony discussing or referencing previously-designated Highly Confidential
Documents or Highly Confidential Information shall be deemed Highly Confidential until the
expiration of the thirty-day period. Otherwise, until the expiration of the thirty-day period, a
transcript of deposition or other swom testimony shall be deemed a Confidential Document
containing Confidential Information, but shall not be deemed to be Highly Confidential until it
has been designated as such pursuant to this paragraph.

6. Limitation on Use or Disclosure of Highly Confidential Documents, In addition to

 

the limitations on the use or disclosure of Confidential Documents, ali Highly Confidential
Case 6:18-cv-02184-CEM-LRH Document 262-1 Filed 11/17/20 Page 7 of 14 PagelD 10639

Documents and the Confidential Information and Highly Confidential Information contained
therein may be disclosed only to: |

a, external counsel of record in this Litigation and in-house counsel for the
parties to this Litigation, including employees of such counsel assisting with this Litigation and
employees of Allstate working directly for in-house counsel and assisting with this litigation;

b. the Court, court personnel, and court reporters; and

c. consultants, investigators, or experts (collectively “experts”) employed
by the parties or counsel for the parties to assist in the preparation and trial of this Litigation,
provided, however, that before disclosure to any such expert is made, the identity of the expert
must be disclosed in writing to the designating party. The designating party shall then have 14
days to object to the expert being shown Highly Confidential Documents. If the designating
party objects, the parties agree to confer directly (in voice-to-voice dialogue) as to whether and
what documents and/or information may be disclosed to the expert. If the parties cannot reach
agreement, either party may bring the issue to the Court for resolution.

7. Written Assurance Form. Before showing or divulging any Confidential or

Highly Confidential Documents or Information to any expert, consultant, or investigator
retained in this Litigation, counsel shall first obtain from each such person a signed “Written
Assurance” in the form attached hereto as Exhibit 1. Counsel shall maintain a list of all such
recipients of Confidential and Highly Confidential Documents and/or Information and the
original of every “Written Assurance” required pursuant to this paragraph. At the conclusion
of this Litigation, and at the request of the designating party, each and every signed “Written

Assurance” and a list of all experts, consultants, or investigators who received or reviewed
Case 6:18-cv-02184-CEM-LRH Document 262-1 Filed 11/17/20 Page 8 of 14 PagelD 10640

Confidential and Highly Confidential Documents and/or Information shall be forwarded to
counsel for the designating party.

8. Use of Confidential Documents at Deposition. Confidential Documents may be
identified and marked at a deposition but shall not be attached to the deposition. Any such
identified and marked materials shall be retained by counsel taking the deposition who shall act
as custodian of the exhibits.

9. Use of Highly Confidential Documents and Highly Confidential Information at
Deposition. Highly Confidential Information may be elicited and Highly Confidential
Documents may be identified and marked only at depositions of persons who are entitled to see
such information and documents per the terms of this Agreement. Any persons, other than the
court reporters transcribing the depositions, who are not entitled to see such information and
documents per the terms of this Agreement shall be required to leave the deposition before the
Highly Confidential Information and/or Highly Confidential Documents are disclosed. The
parties agree to work cooperatively to resolve any issues regarding the use of Highly
Confidential Information and Highly Confidential Documents in depositions. Any Highly
Confidential Documents marked as exhibits during a deposition shall not be attached to the
deposition; rather, any such identified and marked materials shall be retained by counsel taking
the deposition who shall act as custodian of the exhibits.

10. Use of Confidential and Hi Confidential Documents and Information at
Hearings and Trial, Before using any Confidential or Highly Confidential Documents or
Information at any hearings in this Litigation, the party who wishes to use said documents or

information must provide at least fourteen (14) days’ notice of same to the designating party.
Case 6:18-cv-02184-CEM-LRH Document 262-1 Filed 11/17/20 Page 9 of 14 PagelD 10641

The parties shall then confer directly (in voice-to-voice dialogue) in a good faith attempt to
resolve any concems regarding the use of the designated documents or information.

Before using any Confidential Documents or Information at trial in this Litigation, the
party who wishes to use said documents or information must have disclosed the Confidential
Documents or Information on its exhibit list in such a manner that does not itself reveal any
Confidential Information and provide at least thirty (30) days’ notice of same to the designating
party. The parties shall then confer directly (in voice-to-voice dialogue) in a good faith attempt
to resolve any concerns regarding the use of the designated Confidential Documents or
Information at trial.

The party wishing to use Confidential or Highly Confidential Documents or Information
in a hearing or at trial shall take all reasonable steps to maintain the confidentiality of said
documents and/or information as discussed and agreed upon during the voice-to-voice dialogue.
In the event the parties are unable to agree on the usage of Confidential or Highly Confidential
Documents or Information in a hearing or at trial, the issue shall be raised with the Court for
resolution in advance of the subject hearing or trial.

11. Filing of Confidential and Highly Confidential! Documents. In the event that
any party wishes to file Confidential or Highly Confidential Documents in the court file for this
Litigation, he/it must first confer directly (in voice-to-voice dialogue) with the designating party
in a good faith attempt toresolve any concerns regarding the filing of the designated documents,
The parties will discuss whether Confidential or Highly Confidential Information can be
redacted from the documents to be filed. If the parties cannot reach agreement, then the filing
party can seek leave to file the Confidential or Highly Confidential Documents under seal or
can challenge the confidentiality designation pursuant to Paragraph 12 of this Agreement. No
Case 6:18-cv-02184-CEM-LRH Document 262-1 Filed 11/17/20 Page 10 of 14 PagelD 10642

Confidential or Highly Confidential Document may be filed in the court file of this Litigation
absent (i) agreement of the parties; (ii) entry of a Court order in this Litigation allowing the
subject document to be filed under seal; or (iii) entry of a Court order in this Litigation, as
described in Paragraph 12, in which there is a final determination that the document at issue is
not Confidential or Highly Confidential.

12. Challenging Confidentiality Designations. A party objecting to designation of
any documents or information as Confidential or Highly Confidential shall give written notice
of same to the designating party. That notice shall provide sufficient information so that the
designating party can identify the challenged document(s) or information. Objections to
designations of Discovery Material as Confidential or Highly Confidential shall be made in
good faith and the objecting party shall confer directly (in voice-to-voice dialogue) with the
designating party, If the objecting party and the designating party cannot resolve their dispute
through such good faith discussions within a reasonable time, the objecting party may, after the
good faith discussions are complete, raise the issue with the Court in accordance with the Local
Rules. Any Discovery Material designated as Confidential or Highly Confidential shall be
subject to all of the restrictions on its use and disclosure as set forth in this Agreement until
such time as the Court may determine otherwise. If the Court rules that the challenged
Discovery Material is not Confidential or Highly Confidential, the designating party shall re-
produce copies of such materials without the Confidential or Highly Confidential designation.
A party may file objections to a magistrate’s Order regarding confidentiality. If such objections
are filed, the parties shall continue to treat those documents, which are the subject matter of the

objection as Confidential or Highly Confidential until final determination of the issues.
Case 6:18-cv-02184-CEM-LRH Document 262-1 Filed 11/17/20 Page 11 of 14 PagelD 10643

13. Failure to Designate. The failure to designate Discovery Material as
Confidential or Highly Confidential shall not be deemed a waiver in whole or in part of a party’s
claim of protection under this Agreement, either as to the specific Discovery Material or as to
any other materials concerning the same or related subject matter. Such failure to designate
may be rectified by notifying in writing counsel for al! parties to whom the Discovery Material
was produced, within a reasonable time after discovery of the failure to designate, advising
them that the Discovery Material should have been designated “Confidential” or “Highly
Confidential.” The designating party will then re-produce the confidential Discovery Material
as provided above, designating the documents themselves as Confidential or Highly
Confidential. Upon receipt of any notice of failure to designate, the parties subject to this
Agreement shall take reasonable and appropriate action to notify any and all recipients of the
newly-designated Confidential or Highly Confidential Documents about the protected status of
said documents, and to retrieve said documents from any person who would not be permitted
by this Agreement to have such documents if they had been designated as Confidential or
Highly Confidential prior to receipt.

14. Non-Waiver of Objections. Entry into this Agreement does not constitute and
shall not be deemed a waiver in whole or in part of any objections, including but not limited to
those based on relevancy or privilege, that any party may have to any discovery requests served
in the Litigation.

15. Request for Confidential or Highly Confidential Information or Documents. If
any party has obtained Confidential or Highly Confidential Documents or Information under
the terms of this Agreement and receives a subpoena or other compulsory process from a third
party to produce such documents and/or information, such party shall do the following within

10
Case 6:18-cv-02184-CEM-LRH Document 262-1 Filed 11/17/20 Page 12 of 14 PagelD 10644

seven (7) calendar days: (i) notify the designating party’s attomey via telephone and in writing,
including in such notice the date set for the production of the requested documents and/or
information and enclosing a copy of the subpoena or other compulsory process; and (ii) deliver
a copy of this Agreement to the party that caused the subpoena or other compulsory process to
be issued. The designating party will then have thirty (30) days to seek protection of the
Confidential or Highly Confidential Documents or Information in the proceeding in which the
subpoena or other compulsory process was issued. In no event shall the receiving party produce
or disclose any Confidential or Highly Confidential Documents or Information unless (i) the
designating party fails to act within that thirty (30) day period; or (ii) a court order is issued
requiring the disclosure.

16. Consequences for Violating this Agreement. In the event that any party hereto
claims that any provision of this Agreement has been violated, such party may move the Court,
upon proper notice as required above, for appropriate sanctions and/or other relief including,
but not limited to, attorneys’ fees and costs associated with pursuing such relief.

17. Return of Confidential and Highly Confidential Documents. Within 30 days
following the conclusion of this Litigation, all Confidential and Highly Confidential Documents
(and all copies of same, electronic and otherwise), whether in the possession of the parties, their
employees, attorneys, experts, or consultants, shall either (i) be returned to counsel for the party
that produced said documents; or (fi) be destroyed with the receiving party providing
certification of such destruction to the producing party.

18. Protection of Privilege and Claw Back Provisions. In the event information is
produced that is later determined to be protected by any privilege including but not limited to
the attomey-client privilege or work product doctrine, production of such information shall not,

11
Case 6:18-cv-02184-CEM-LRH Document 262-1 Filed 11/17/20 Page 13 of 14 PagelD 10645

by itself, constitute a waiver of any available privilege or protcelion by the disclosing party. In
the event a receiving party discovers that it has received documents that are protected by any
privilege, it shall bring that fact to the attention of the producing party as soon as possible upon
discovery. Upon the request of the producing party, the reeciving party shal) promptly return to
the producing party any privileged document identified by the producing party and any copies
the receiving party may have made. Upon the request of the producing party, the reeciving party
shall also promptly disclose the names of any individuals who have read or have had access to
the privileged document. No such inadvertently produced privileged document—or any
information discovered through review of such protected document—may be used for any
purpose against the producing party unless: (i) the parties agree to such: use; (ii) the information
is publicly available; or (iii) the Court grants pennission for the use of such document or
information. Nothing in this agreement shall prevent any party from contending that any other
party has erroncausly claimed that a document is privileged. This Agreement shall be
interpreted to provide the imaximum protection allowed by Federal Rule of Evidence $02(d).
SO STIPULATED AND AGREED:
PLAINTIFFS, ALLSTATE DEFENDANTS: ACTO GLASS AMERICA,
INSURANCE COMPANY, an Hiineiy = LLC, a Florida limited liability company, and
corporation; ALLSTATE FIRE AND CHARLES ISA4.¥, a citizen of Arizona:
CASUALTY INSURANCE COMPARY,
an illinois corporation; ALLSTATE
INDEMNITY COMPANY, an Wincis |
corporation; andl ALLSTATE Mac S-Phillips
PROPERTY AND CASUALTY Florida Bar No.: 195413

INSURS CE COMPANY, an Hlinojs PHILLIPS TADROS, P.A.
corps ope } / / 212 SE &” Street, Suite 103

  
  

 

Fort Lauderdale, FL 33316
Telephone: (934) 642-8885

EY Facsimile: (954) 252,462]
Florida Bur’Ne 0095060 “> Dare: 20/2419
RUMBERGER, KIRK & CALDWELL

   

 

   

12

~
Case 6:18-cv-02184-CEM-LRH Document 262-1 Filed 11/17/20 Page 14 of 14 PagelD 10646

A Professional Association
Lincoln Plaza, Suite 1400
300 South Orange Avenue
Post Office Box 1873

Orlando, Florida 32802-1873
Telephone: (407) 872-7300
Telecopier: (407) 841-2133

Date:_/0/ i7 19

Attorneys for Plaintiff,

ALLSTATE INSURANCE COMPANY,
an linois corporation; ALLSTATE FIRE
AND CASUALTY INSURANCE
COMPANY, an Illinois corporation;
ALLSTATE INDEMNITY COMPANY,
an Ilinois corporation; and ALLSTATE
PROPERTY AND CASUALTY
INSURANCE COMPANY, en Diinois
corporation

 

. . ad
(ceil
Chad Barr"
Fi FS II6)
LAW OFFICE OF CHAD A. BARR, PA.
5986 Douglas Avernue
Suite 100

Altamonte Springs, Florida 32714
Telephone: (407) 599-9036

Dare: 10/22/2019

Emilia : la

Fla, Bar No.: 158593

 

PA,
7320 Griffin Road, Suite 203
Davie, Florida 33314
Telephone: (954) 584-2563

Date:__10 [27 jie i”

Attomeys for Defendants, AUTO GLASS
AMERICA, LLC, a Florida limited liability
company, and CHARLES ISALY, a citizen of
Arizona

 

JOSEPH R. DAWSON, ESQUIRE

Law Offices of Joseph R. Dawson, PA.
110 Southeast Sixth Street; Suite 1900
Fort Lauderdale, Florida 3330]

Email Pleadings(@dawsonlawfirm.com
Felephone: (954) 467-2100

Florida Bar #347450

Date: 8/26/20

13
